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                   EXHIBIT A
Case 2:16-cv-00631-FMO-AJW Document 4-1 Filed 01/28/16 Page 2 of 38 Page ID #:30




             csc.
CORPORATION SERVICE COMPANY*

                                                                                                                                   LDD! ALL
                                                                                                         Transmittal Number: 14629690
 Notice of Service of Process                                                                               Date Processed: 1213012015


 Primary Contact:            Leo A. Knowles, 1-370
                             Conagra Foods, Inc.
                             One Conagra Drive
                             Omaha, NE 68102-5001

 Copy of transmittal only provided to:           Sherry Benton 1-370
                                                 Melanie McIntyre - MS 1-370
                                                 Lisa Marcuccio

 Entity:                                         ConAgra Foods, Inc.
                                                 Entity ID Number 0246636
 Entity Served:                                  Conagra Foods Inc.
 Title of Action:                                Moises Negrete vs. ConAgra Foods, Inc
 Document(s) Type:                               Summons/Complaint
 Nature of Action:                               Class Action
 Court/Agency:                                   Los Angeles County Superior Court, California
 Case/Reference No:                              BC598468
 Jurisdiction Served:                            California
 Date Served on CSC:                             12/3012015
 Answer or Appearance Due:                       30 Days
 Originally Served On:                           CSC
 How Served:                                     Personal Service
 Sender Information:                             Matem Law Group
                                                 310-531-1900

 Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
 constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                               CSC is SAS70 Type II certified for its Litigation Management System.
                           2711 Centerville Road Wilmington, DE 19808 (888) 690-2882 I sopcscinfo.com




                                                                                                                                              5
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                                                                                                                                                           SUM-1
                                               SUMMONS                                                                         FORCOURT USE ONLY
                                                                                                                           (SOLO PARA USO DC LA CORTE)
                                     (CITACION JUDICIAL)
   NOTICE TO DEFENDANT:                                                                                                    CONFORMED COPY
   (AVISO AL DEMANDADO):                                                                                                      ORtAL PLED
                                                                                                                           suersar Court of California
   CONAGRA FOODS, INC., a Delaware corporation; RALCORP                                                                          ouriiv dl Los Anoqfoe

   HOLDINGS, INC., a Missouri corporation;                                                                                       OCT 202015
  YOU ARE BEING SUED BY PLAINTIFF:                                                                                Shard H. Carter, txaauwe
   (LO ESTA DEMANDANDO EL DEMANDANTE):
                                                                                                                            Stiaunya Bolden, Deputy
   MOISES NEGRETE, an individual, and on behalf of others similarly
   situated
    NOTICEI You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the inforniation
    below.
       You have 30 CALENDAR DAYS after this summons and legal papers are served on you to tile a written response at this court and have a copy
    served on the plainttff. A letter or phone call will not protect you. Your written response must be I n properlegal form if you want the court to hear your
    case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
    Online Self-Help Center (v’ww.couilinfo.ca.gov/selmelp), your county law library, or the courthouse nearest you. lIyou cannot pay the tiling tee, ask
    the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
    may be taken without further warning from the court.
       There are other legal requirements. You may want to call an attorney right away. It you do not know an attorney, you may want to call an attorney
    referral service. If you cannot afford an attorney, you may be ellble for free legal services from a nonprotit legal services program. You can locate
    these nonprofit groups at the California Legal Services Web site (vriwi.lawheocalifomia.org), the California Courts Online Self-Help Center
    (ww’,v.cou,ffnfo.cagov/sefhelp), or by contacting your local court or county bar association. NOTE,’ The court has a statutory ten for waived fees and
   costs on any settlement or arbitration award of $10,000 or more In a civil case. The court’s lien must be paid before the court will dismiss the case.
   jAt/SOI Lo han demandado. Si no responde dentro de 30 dlas, Ia code puede decldh en su contra sin escuchar su versldn Lea Ia infomiaclOn a
   contlnuacidn.
      Tlene 30 DJ.AS DE CALENDARIO despuis de que Ic entreguen esta citacin ypapeles          tegales pars presentarune respuesta pot esalto en esta
   code y hacer que ,se entrague una copia a! demandante. Una carla o una Ilamada telefOnica no 10 prolegen. Su respuesta pot escrfto tiene qua ester
   en forrnato legal cotta do sI desea que pmcesen at, caso en Ia co,le. Es posible qua hays un fotmulario que usted puecla user pars su respuesta.
   Puede encont tar estos formulados de la carte y mis informaclin en ci Centro de Ayuda de las Codes de California Www.sucorte.ca.gov), en la
   bibiioteca do le yes cia su condado o en Is code que Jo quede mis cerca. Si no puede pagar is cuota de presentacin, plda al secretado cia la code
   qua Ic do un fonnu!edo de exenclon cia pago de cuotas. Si no presents su respueste a tiempo, puede perderei caso por Incumplimlento y is Code le
   podra quite, su sueldo, dinero y blenes sin mis advedencie.
     Hay olros requlsitas legates. Es recomendable qua home a un abogado inmedlatamente. SI no conoce a tin abogedo, puede !lamar a un serviclo d
   remlsidn a abogados. Si no puede pager a un abogado, es posible que cumpla con los requlsltos pars obtener se,vicios legates gratullos do tin
   pmgrama’d& servicios Fe gales sin fines de lucre. Puede encontrar estos grupos sin fines de lucro en ci sf110 web do California Legal Services,
   jWww.lawttelpcallfomla.org ), an ci Centro do Ayuda de las Cones dc California, (www.sucorte.ca.gov ) to pori4ndose an contacio con la cotta o el
   coleglo de abogados locales. A VISO: Pot ley, Is code tiene deracho a reclamar las cuotas ylos costos exentos pot Imporier Un gravamen sobre
   cuaiquier recuperacidn de $10,000 d mis do valor tee Ibida mediante tin acuerdo o tins concesldn de arbltraJe en un case de derechocMl 7iene qua
   pager ci gravamen cia Is carte antes do qua Is code pueda desechar ci caso.
  The name and address of the court            ’5:                                                            CASE NUMBER
                                                                                                                      l Casł).
  (El nornbre y direcciOn de Is cotta         as): Los Angeles Superior Court
  111 North Hill Street - Central District                                                                                       B
  Los Angeles, California 90012-3014
  The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
                        ci nimero de telbfono del ebogadc’ del demandante, 0 del demandanto que no Itenc abogado, as):
  (El nombre, la direccin y
   Matthew J. Matern, Esq., 1230 Rosecrans Avenue, Suite 200, Manhattan Beach CA 90266 (310) 531-1900
  DATE:
  (Feoha)                                               OCT 20     ?      1IIPlt
                                                                                   Clerk, by
                                                                                                               UYA6OLDEN                                     Deputy
                                                                                                                                                            (Adjunto)
  (For proof of service of this summons, use Proof of Service of Summo        frm POS-010).)
                                                                             efarjo)
  (Pars prueba de entrega de esta citatiOn use el formulario Proof of Service of Summons, (POS.010)).
                                        NOTICE TO THE PERSON SERVED: You are served
   ISEALI
                                        1.     as an individual defendant.
                                        2.lJ   as the person sued under the fictitious name of (specify):


                                          ,          on beh If of (specify):
                                                                               C    ’




                                               under.         CCP 416.10 (Corporation)                                  CCP 416,60 (minor)
                                                        EJ    CCP 416,20 (defunct corporation)                  iJ      CCP 416.70 (conservatee)
                                                         J    CCP 416,40 (association or partnership)                   CCP 416.90 (authorized person)

                                                        EJ   other (specify):
                                        4.           by personal delivery on (date):
                                                                                                                                                              Pig. loll
   Fern Adopted lot mandatory use
     Judidil Council OS CaIiIcni.                                          SUMMONS                                                   Code otDvd Prooe.,rs ftft 412.20, 465
    51.114.100 (Rev. July 1.20O9
Case 2:16-cv-00631-FMO-AJW Document 4-1 Filed 01/28/16 Page 4 of 38 Page ID #:32




                                                                                                                              SU7
                                                                                                   CASE NUMBER
      SHORT TITLE:


  F    Moises Negrete vs. Conagra Foods, Inc.,

                                                          INSTRUCTIONS FOR USE
    + This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
    3 If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: ’Additional Parties
        Attachment form is attached.

      List additional parties (Cheek only one box. Use a separate pace for each type of party.):

       El       Plaintiff        r7
                                  V   Defendant       Cross-Complainant     0     Cross-Defendant

      RALSTON FOODS, INC., a Nevada corporation; BLOOMFIELD BAKERS, LLC, a California limited
      liability company; LOVING OVEN, LLC, a California limited liability company; and DOES I through 50,
      inclusive,




                                                                                                                   Page - of -
                                                                                                                                     P a ge loll
   FwmAdDplod Mandatory Use
     Judiciaouncil
           lC      of CaOIna                      ADDITIONAL PARTIES ATTACHMENT
  SUM-2 0(A) tRay. JsreJ&y 1.2007)                     Attachment to Summons




                                                                                                                                                   V1
    Case 2:16-cv-00631-FMO-AJW Document 4-1 Filed 01/28/16 Page 5 of 38 Page ID #:33




                                                                                CONFORMED COPY
             1’     MATERI’1 LAW GROUP                                                ML RLED
                    MATTHEW J. MATERN (SBN 159798)                                Qour* of Los ArreJo
               2    1230 Rosecrans Avenue, Suite 200
                    Manhattan Beach, CA 90266
                                                                                    0C12 02015
                    J’el: (310) 531-1900                                 Shorn R. Cafler, Execunve OfticorIDerk
                4   Facsimile: (310) 531-1901                                By Shaunya Bokien, Deputy

               5    Attorneys for Plaintiff Moises Negrete,
                    individually and on behalf of all others
                6   similarly situated
               7
                8                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                9                                     COUNTY OF LOS ANGELES
              10                                                                    BCS984 68
              11    MOISES NEGRETE, individually and on            CASE NO.:
                    behalf of all others similarly situated,
              12                                                   CLASS ACTION
                                   Plaintiff,                      COMPLAINT:
              13
                                   vs.                             1. Failure to Provide Meal Periods
              14
                                                                   2. Failure to Authorize and Permit Rest
                    CONAGRA FOODS, INC., a Delaware                   Periods
              15    corporation; RALCORP HOLDINGS,INC.,            3. Failure to Pay Overtime Wages
                    a Missouri corporation; RALSTON FOODS,         4. Failureto Pay Minimum Wages
              16    INC., a Nevada corporation; BLOOMFIELI)        5. Failure to Pay All Wages Due to
                    BAKERS, LLC, a California limited liability       Discharged and Quitting Employees
              17    company; LOVIN OVEN, LLC, a California         6. Failure to Furnish Accurate Itemized
                    limited liability company; and DOES I             Wage Statements
              18    through 50, inclusive,                         7. Failure to Maintain Required Records
              19                                                   8. Failure to Indemnify Employees for
                                   Defendants.                        Necessary Expenditures Incurred in
              20                                                      Discharge of Duties
                                                                   9. Unfair and Unlawful Business Practices
              21
                                                                   REPRESENTATIVE ACTION:
              22
                                                                   10. Penalties under the Labor Code Private
              23                                                       Attorneys General Act, as
                                                                       Representative Action
              24
              25                                                   DEMAND FOR JURY TRIAL

              26
              27
              28
MATERN LAW GROUP
  1230 ROSECRANS                                                                          CLASS ACTION COMPLAINT
  AVENUE, STE 200
   MANHATTAN
  BEACH, CA 90266
    Case 2:16-cv-00631-FMO-AJW Document 4-1 Filed 01/28/16 Page 6 of 38 Page ID #:34



                      II.
                 1                  PLAINTIFF MOISES NEGRETE ("PLAINTIFF"), individually and on behalf of all
                 2          others similarly situated, hereby alleges as follows:
                 3                                                   INTRODUCTION
                 4                  1.      PLAINTIFF brings this action on behalf of himself and all other similarly-situated
                 5          current and former non-exempt employees of defendants CONAGRA FOODS, INC.
                 6          ("DEFENDANT CONAGRA FOODS"); RALCORP HOLDINGS, INC. ("DEFENDANT
                 7          RALCORP HOLDINGS"); RALSTON FOODS, INC. ("DEFENDANT RALSTON FOODS");
                 8          BLOOMFIELD BAKERS, LLC ("DEFENDANT BLOOMFIELD BAKERS"); LOVIN OVEN,
                 9          LLC ("DEFENDANT LOVIN OVEN"); and DOES 1 through 50 inclusive (collectively,
               10           "DEFENDANTS"), in the State of California during the relevant statutory period to recover,
               11           among other things, unpaid compensation arising from DEFENDANTS’ failure to provide
               12           employees meal and rest periods (Or compensation therefor) as required under California law,
               13           unpaid overtime compensation, unpaid minimum wage, and unreimbursed business expenses.
               14           Plaintiff also seeks penalties, interest, attorneys’ fees, costs and expenses, and equitable,
               15           restitutionary and injunctive relief
               16                                             JURISDICTION AND VENUE
               17                   2.      The Superior Court of the State of California has jurisdiction in this matter because
               18           PLAINTIFF is a resident of the State of California, and DEFENDANTS are qualified to do
               19       business in California and regularly conduct business in California. Further, no federal question is at
              20            issue because the claims are based solely on California law.
               21                   3.      Venue is proper in this judicial district and the County of Los Angeles, California
              22        because PLAINTIFF, and other persons similarly situated, performed work for DEFENDANTS
              23            in the County of Los Angeles, DEFENDANTS maintain offices and facilities and transact
               Nm business in . the County of Los Angeles, and because DEFENDANTS’ illegal policies and
              25        practices which are the subject of this action were applied, at least in part, to PLAINTIFF, and
              26        other persons similarly situated, in the County of Los Angeles.
              27
              28        I/I
MATCRN LAW GROUP
  12O ROSECRAWS
                                                                                                      CLASS ACTION COMPLAINT
  AVENUE, STE 200
   MANHATTAN
                                                                             2
  REACH, CA 902fifi
   Case 2:16-cv-00631-FMO-AJW Document 4-1 Filed 01/28/16 Page 7 of 38 Page ID #:35




              1                                                THE PARTIES

              2           4.      PLAINTIFF is a resident of the State of California and a former employee of

              3    DEFENDANTS.

             4            5.      PLAINTIFF brings this action on behalf of himself and the following similarly

              5    situated class of individuals ("CLASS MEMBERS"): all current and former non-exempt

              6    employees of DEFENDANTS in the State of California at any time within the period

              7    beginning four (4) years prior to the filing of this action and ending at the time this action

              8    settles or proceeds to final judgment (the "CLASS PERIOD"). PLAINTIFF reserves the right

              9    to name additional class representatives.

            10            6.      PLAINTIFF is informed and believes, and thereon alleges, that DEFENDANT

            11     CONAGRA FOODS is, and at all times relevant hereto was, a corporation organized and existing

            12     under the laws of the State of Delaware. PLAINTIFF is further informed and believes, and

            13     thereon alleges, that DEFENDANT CONAGRA FOODS is authorized to conduct business in the

            14     State of California, and does conduct business in the State of California. Specifically,

            15     DEFENDANT CONAGRA FOODS maintains offices and facilities, conducts business, and

            16     engages in illegal practices in the County of Los Angeles.

            17            7.      PLAINTIFF is informed and believes, and thereon alleges, that DEFENDANT

            18     RALCORP HOLDINGS is, and at all times relevant hereto was, a corporation organized and

            19     existing under the laws of the State of Missouri. PLAINTIFF is further informed and believes,

            20     and thereon alleges, that DEFENDANT RALCORP HOLDINGS is authorized to conduct

            21     business in the State of California, and does conduct business in the State of California.

            22     Specifically, DEFENDANT RALCORP HOLDINGS maintains offices and facilities, conducts

            23     business, and engages in illegal practices in the County of Los Angeles.

            24            8.      PLAINTIFF is informed and believes, and thereon alleges, that DEFENDANT

            25     RALSTON FOODS is, and at all times relevant hereto was, a corporation organized and existing

            26     under the laws of the State of Nevada. PLAINTIFF is further informed and believes, and thereon

            27     alleges, that DEFENDANT RALSTON FOODS is authorized to conduct business in the State of

            28     California, and does conduct business in the State of California. Specifically, DEFENDANT
MATEXN LAW GROUP
  230 ROSECRANS
                                                                                              CLASS ACTION COMPLAINT
 "VENUE, STE 200
   MANHATTAN
                                                                    3
 BEACH. CA 90266




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   Case 2:16-cv-00631-FMO-AJW Document 4-1 Filed 01/28/16 Page 8 of 38 Page ID #:36




               1    RALSTON FOODS maintains offices and facilities, conducts business, and engages in illegal

               2    practices in the County of Los Angeles.

               3            9.      PLAINTIFF is informed and believes, and thereon alleges, that DEFENDANT

               4    BLOOMFIELD BAKERS is, and at all times relevant hereto was, a California limited liability

               5    company organized and existing under the laws of the State of California. PLAINTIFF is further

               6    informed and believes, and thereon alleges, that DEFENDANT BLOOMFIELD BAKERS is

               7    authorized to conduct business in the State of California, and does conduct business in the State

               8    of California. Specifically, DEFENDANT BLOOMFIELD BAKERS maintains offices and

               9    facilities, conducts business, and engages in illegal practices in the County of Los Angeles.

             10             10.     PLAINTIFF is informed and believes, and thereon alleges, that DEFENDANT

             11     LOVIN OVEN is, and at all times relevant hereto was, a California limited liability company

             12     organized and existing under the laws of the State of California. PLAINTIFF is-further informed

             13     and believes, and thereon alleges, that DEFENDANT LOVIN OVEN is authorized to conduct

             14     business in the State of California, and does conduct business in the State of California.

             15     Specifically, DEFENDANT LOVN OVEN maintains officesand facilities, conducts business,

             16     and engages in illegal practices in the County of Los Angeles.

             17             11.     The true names and capacities of DOES 1 through 50, inclusive, are unknown to

             18     PLAINTIFF at this time, and PLAINTIFF therefore sues such DOE defendants under fictitious

             19     names. PLAINTIFF is informed and believes, and thereon alleges, that each defendant

             20     designated as a DOE is in some manner highly responsible for the occurrences alleged herein, and

             21     that PLAINTIFF and CLASS MEMBERS’ injuries and damages, as alleged herein, were

             22     proximately caused by the conduct of such DOE defendants. PLAINTIFF will seek leave of the

             23     court to amend this Complaint to allege their true names and capacities of such DOE defendants

             24     when ascertained.

             25             12.     At all relevant times herein, DEFENDANTS were the joint employers of

             26     PLAINTIFF and CLASS MEMBERS. PLAINTIFF is informed and believes, and thereon allege,

             27     that at all times material to this complaint, DEFENDANTS were the alter egos, divisions,

             28     affiliates, integrated enterprises, joint employers, subsidiaries, parents, principals, related entities,
MATERN LAW GROUP
  130 ROSECRANS
  AVENUE. STE 200                                                       4                         CLASS ACTION COMPLAINT
   MANHATTAN
  BEACH. CA 90266




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   Case 2:16-cv-00631-FMO-AJW Document 4-1 Filed 01/28/16 Page 9 of 38 Page ID #:37




                      co-conspirators, authorized agents, partners, joint venturers, and/or guarantors, actual or

                2     ostensible, of each other. Each defendant was completely dominated by his, her or its co

             .3       defendant, and each was the alter ego of the other.

                4              13.   At all relevant times herein, PLAINTIFF and CLASS MEMBERS were employed

                5     by DEFENDANTS under employment agreements that were partly written, partly oral, and partly

                6     implied. In perpetrating the acts and omissions alleged herein, DEFENDANTS, and each of

                7     them, acted pursuant to, and in furtherance of,       their policies and practices of not paying

                8     PLAINTIFF and CLASS MEMBERS all wages earned and due, through methods and schemes

                9     which include, but are not limited to, failing to pay overtime premiums; failing to provide rest and

              10      meal periods; failing to properly maintain records; failing to provide accurate itemized statements

              11      for each pay period; failing to properly compensate PLAINTIFF and CLASS MEMBERS for

              12      necessary expenditures; and requiring, suffering, or permitting employees to work off the clock,

              13      in violation of the California Labor Code and the applicable Industrial Welfare Commission

              14      ("IWC") Wage Order.

               15              14.   PLAINTIFF is informed and believes, and thereon allege, that each and every one

               16     of the acts and omissions alleged herein were performed by, and/or attributable to, all

               17     DEFENDANTS, each acting as agents and/or employees, and/or under the direction and control

               18     of, each of the other DEFENDANTS, and that said acts and failures to act were within the course

               19     and scope of said agency, employment and/or direction and control.

              20               15.   As a direct and proximate result of the unlawful actions of DEFENDANTS,

              21      PLAINTIFF and CLASS MEMBERS have suffered, and continue to suffer, from loss of earnings

              22      in amounts as yet unascertained, but subject to proof at trial, and within the jurisdiction of this

              23      Court.

              24                                     CLASS ACTION ALLEGATIONS

               25              16.   This action is appropriately suited as a class action because:

              26                      a.     The potential class is of a significant number. Joinder of all current and

               27     former employees individually would be impracticable.

               28
MATERI4 LAW GROUP
  1130 ROSECRANS
 AVENUE. STE 200
                                                                                                CLASS ACTION COMPLAINT
   MANHATTAN
  LILACI-I. CA 9026




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  Case 2:16-cv-00631-FMO-AJW Document 4-1 Filed 01/28/16 Page 10 of 38 Page ID #:38




              I                    b.     This action involves common questions of law and fact because the action

              2     focuses on DEFENDANTS’ systematic course of illegal practices and policies, which was

           ’3       applied to all non-exempt employees in violation of the Labor Code, the applicable IWC Wage

              4     Order, and the Business and Professions Code which prohibits unfair business practices arising

              51 from such violations.
              6                    C.     PLAINTIFF’s claims are typical of the claims of the CLASS MEMBERS

              7     because DEFENDANTS subjected all non-exempt employees to the same violations of the Labor

              8     Code, the applicable IWC Wage Order, and the Business and Professions Code.

              9                    d.     PLAINTIFF will fairly and adequately protect the interests of all CLASS

             10     MEMBERS in order to obtain full compensation due to the CLASS MEMBERS for all services

             11     rendered and hours worked.

             12                                      FIRST CAUSE OF ACTION

             13                                     Failure to Provide Meal Periods

             14         [Cal. Labor Code §§ 226.7, 510, 512, 1194, 1197; IWC Wage Order No. 1-2001 § 11]

             15                                       (Against all DEFENDANTS)

             16            17.     PLAINTIFF Incorporates’ herein by specific reference, as though fully set forth, the

             17     allegations in paragraphs 1 through 16.

             18            18.     During the CLASS PERIOD, DEFENDANTS have had, and continue to have, a

             19     policy and practice of failing to provide PLAINTIFF and CLASS MEMBERS full and timely

             20     meal periods as required by California Labor Code §§ 226.7 and     512 and IWC Wage Order No.

             21     1-2001 § 11.

             22             19.    As a result of DEFENDANTS’ policies and practices as alleged herein,

             23     PLAINTIFF and CLASS MEMBERS have regularly been denied, and continue to be denied, the

             24     opportunity to take full, uninterrupted, and timely meal periods as required under California

             25     Labor Code § § 226.7 and 512 and IWC Wage Order No. 1-2001 § 11.

             26            20.     DEFENDANTS have further violated and continue to violate California Labor

             27     Code § 226.7 and IWC Wage Order No. 1-2001 § 11 by failing to compensate PLAINTIFF and

             28     CLASS MEMBERS who were not provided a meal period, in accordance with the applicable
MATERN LAW GROUP
 12O ROSECIANS
                                                                                            CLASS ACTION COMPLAINT
 AVENUE. STE 200                                                    6
   MANHATTAN
  BEACH, CA 90266




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  Case 2:16-cv-00631-FMO-AJW Document 4-1 Filed 01/28/16 Page 11 of 38 Page ID #:39




                 1   Wage Order, one additional hour of compensation at each employee’s regular rate of pay for each

              2      workday that a meal period was not provided.

              3              21.    DEFENDANTS further violated California Labor Code §§ 226.7,           510, 1194, and
              4      1197 and IWC Wage Order No. 1-2001 by failing to compensate PLAINTIFF and CLASS

              S      MEMBERS for all hours worked during their meal periods.

              6              22.    As a direct and proximate result of the aforementioned violations, PLAINTIFF and

              7      CLASS MEMBERS have sustained economic damages, including but not limited to unpaid

              8      wages and lost interest, in an amount according to proof at trial, and are entitled to recover

              9      economic and statutory damages and penalties and other. appropriate relief due to

            10       DEFENDANTS’ violation of the California Labor Code and IWC Wage Order No. 1-2001.

            11                                         SECOND CAUSE OF ACTION

            12                                Failure to Authorize and Permit Rest Periods

            13                     [Cal. Labor Code §§ 226.7,512; IWC Wage Order No. 1-2001 § 121

            14                                          (Against all DEFENDANTS)

            15              23.     PLAINTIFF incorporates herein by specific reference, as though fully set forth, the

            16       allegations in paragraphs 1 through 22.

            17              24.     During the CLASS PERIOD, DEFENDANTS have had, and continue to have, a

            18       policy and practice of failing to authorize and permit PLAINTIFF and CLASS MEMBERS to

            19       take rest breaks as required by California Labor Code § 226.7 and IWC Wage Order No. 1-2001 §

            20       12. As a result of DEFENDANTS’ policies and practices as alleged herein, PLAINTIFF and

            21       CLASS MEMBERS have regularly been denied, and continue to be denied, the opportunity to

            22       take full, uninterrupted, and timely rest periods as required under California Labor Code § 226.7

            23       and JWC Wage Order No. 1-2001 § 12.

            24              25.     DEFENDANTS further violated and continue .to violate California Labor Code §

            25       226.7 and IWC Wage Order No; 1-2001 § 12 by failing to pay PLAINTIFF and CLASS

            26       MEMBERS who were not provided a rest period, in accordance with the applicable Wage Order,

            27       one additional hour of compensation at each employee’s regular rate of pay for each workday that

            28       a rest period was not provided.
MATERN LAW CROUP
 1230 ROSECRANS
 AVENUE. STE 200                                                                              CLASS ACTION COMPLAINT
   MANHATTAN
                                                                     7
 HEACH. CA 90266




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   Case 2:16-cv-00631-FMO-AJW Document 4-1 Filed 01/28/16 Page 12 of 38 Page ID #:40




                I            26.      As a direct and proximate result of the aforementioned violations, PLAINTIFF and

               2     CLASS MEMBERS have sustained economic damages, including but not limited to unpaid

               3     wages and lost interest, in an amount according to proof at trial, and are entitled to recover

               4     economic and statutory damages and penalties and other appropriate relief due to

               5     DEFENDANTS’ violation of the California Labor Code and IWC Wage Order No. 1-2001.

               6                                        THIRD CAUSE OF ACTION

               7                                       Failure to Pay Overtime Wages

               8                   [Cal. Labor Code §§ 510,1194,1198; IWC Wage Order No. 1-2001 § 31

               9                                         (Against all DEFENDANTS)

             10             27.       PLAINTIFF incorporates herein by specific reference, as though fully set forth, the

             11      allegations in paragraphs I through 26.

             12             28.       Pursuant to California Labor Code §§ 510 and 1194 and IWC Wage Order No. 1-

             13      2001 § 3, DEFENDANTS are required to compensate PLAINTIFF and CLASS MEMBERS for

             14      all overtime at a rate of one and one-half (1 /z) times the regular rate of pay for all hours worked

              15     in excess of eight (8) hours per day and/or forty (40) hours per week, and for the first eight (8)

             16      hours on the seventh consecutive workday and at a rate of twice the regular rate of pay for all

             17      hours worked in excess of twelve (12) hours in any workday and for all hours worked in excess of

             18      eight (8) hours on the seventh consecutive day of work in any workweek.

             19              29. PLAINTIFF and CLASS MEMBERS are current and former non-exempt

             20      employees entitled to the protections of California Labor Code §§ 510 and 1194 and IWC Wage

             21      Order No. 1-2001. During the CLASS PERIOD, DEFENDANTS failed to compensate, and

             22      continue to fail to . compensate, PLAINTIFF and CLASS MEMBERS for all overtime hours

             23      worked as required under the foregoing provisions of the California Labor Code and IWC Wage

             24      Order by, among other things: failing to pay overtime at one and one-half (I       Y2)   times or double

             25      the regular rate of pay as provided by California Labor Code §§ 510 and 1194 and IWC Wage

             26      Order No. 1-2001 § 3; requiring, suffering or permitting PLAINTIFF and CLASS MEMBERS to

             27      work off the clock; requiring, suffering or permitting PLAINTIFF and CLASS MEMBERS to

             28      work through meal breaks; illegally and inaccurately recording time in which PLAINTIFF and
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                      CLASS MEMBERS worked; failing to properly maintain PLAINTIFF’s and CLASS

                2     MEMBERS’ records; failing to provide accurate itemized wage statements to PLAINTIFF for

             .3       each pay period; and other methods to be discovered.

                4             30.      In violation of California law, DEFENDANTS have knowingly and willfully

                5     refused, and continue to refuse, to perform their obligations to compensate PLAINTIFF and

                6     CLASS MEMBERS for all wages earned and all hours worked. As a direct and proximate result,

                7     PLAINTIFF and CLASS MEMBERS have suffered, and continue to suffer, substantial losses

                8     related to the use and enjoyment of such wages, lost interest on such wages, and expenses and

                9     attorneys’ fees in seeking to compel DEFENDANTS to fully perform their obligations under state

               10     law, resulting in damages in amounts according to proof at time of trial and within the jurisdiction

               11     of this Court.

               12             31.      DEFENDANTS’ conduct described herein violates, and continues to violate,

               13     California Labor Code § § 510, 1194; and 1198 and IWC Wage Order No. 1-2001 § 3. Therefore,

               14     pursuant to California Labor Code §§ 200, 203, 226, 558, 1194, and 1197.1 and other applicable

               15     provisions under the California Labor Code and IWC Wage Orders, PLAINTIFF and CLASS

              16      MEMBERS are entitled to. recover the unpaid balance of wages owed to them by

               17     DEFENDANTS, plus interest, penalties, attorneys’ fees, expenses, and costs of suit.

              18                                        FOURTH CAUSE OF ACTION

               19                                       Failure to Pay Minimum Wages

              20                       [Cal Labor Code §§ 1194,1197; IWC Wage Order No. 1-2001 § 4]

              21                                          (Against all DEFENDANTS)

              22              32.      PLAINTIFF incorporates herein by specific reference, as though fully set forth, the

              23      allegations in paragraphs 1 through 31.

              24              33.      Pursuant to California Labor Code §§ 1194 and 1197 and IWC Wage Order No. 1-

              25      2001 § 4, payment to an employee of less than the applicable minimum wage for all hours

              26      worked in a pay period is unlawful.

              27              34.      During the CLASS PERIOD, DEFENDANTS failed to pay PLAINTIFF and

              28      CLASS MEMBERS minimum wages for all hours worked by, among other things: requiring,
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               1    suffering, or permitting PLAINTIFF and CLASS MEMBERS to work off the clock; requiring,

               2    suffering, or permitting PLAINTIFF and CLASS MEMBERS to work through meal and rest

               3    breaks; illegally and inaccurately recording time in which PLAINTIFF and CLASS MEMBERS

              4     worked; failing to properly maintain PLAINTIFF’s and CLASS MEMBERS’ records; failing to

               5    provide accurate itemized wage statements to PLAINTIFF and CLASS MEMBERS for each pay

               6    period; and other methods to be discovered.

              7            35.      DEFENDANTS’ conduct described herein violates California Labor Code §§ 1194

               8    and 1197 and IWC Wage Order No. 1-2001 § 4. As a proximate result of the aforementioned

               9    violations, PLAINTIFF and CLASS MEMBERS have been damaged in an amount according to

             10     proof at trial. Therefore, pursuant to California Labor Code §§ 200, 203, 226, 558, 1194, and

             11     1197.1 and other applicable provisions under the Labor Code and IWC Wage Orders,

             12     PLAINTIFF and CLASS MEMBERS are entitled to recover the unpaid balance of wages owed to

             13     them by DEFENDANTS, plus interest, penalties, attorneys’ fees, expenses, and costs of suit.

             14                                        FIFTH CAUSE OF ACTION

             15                   Failure to Pay All Wages Due to Discharged and Quitting Employees

             16                                     [Cal. Labor Code §§ 201, 202, 2031

             17                                        (Against all DEFENDANTS)

             18            36.      PLAINTIFF incorporates herein by specific reference, as though filly set forth, the

             19     allegations in paragraphs 1 through 35.

             20             37.     Pursuant to California Labor Code § 201, 202, and 203, DEFENDANTS are

             21     required to pay all earned and unpaid wages to an employee who is discharged. California Labor

             22     Code § 201 mandates that if an employer discharges an employee, the employee’s wages accrued

             23     and unpaid at the time of discharge are due and payable immediately.

             24             38.     Furthermore, pursuant to California Labor Code § 202, DEFENDANTS are

             25     required to pay all accrued wages due to an employee no later than 72 hours after the employee

             26     quits his or her employment, unless the employee provided 72 hours previous notice of his or her

             27     intention to quit, in which case the employee is entitled to his or wages at the time of quitting.

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             1             39.     California Labor Code § 203 provides that if an employer willfully fails to pay, in

             2      accordance with California Labor Code §§ 201 and 202, any wages of an employee who is

             3      discharged or who quits, the employer is liable for waiting time penalties in the form of continued

             4      compensation to the employee at the same rate for up to 30 workdays.

             5             40.     During the CLASS PERIOD, DEFENDANTS have willfully failed to pay accrued

             6      wages and other compensation to PLAINTIFF and CLASS MEMBERS in accordance with

             7      California Labor Code §§ 201 and 202.

             8             41.     As a result, PLAINTIFF and CLASS MEMBERS are entitled to all available

             9      statutory penalties, including the waiting time penalties provided in California Labor Code   § 203,

            10      together with interest thereon, as well as other available remedies.

            11                                         SIXTH CAUSE OF ACTION

            12                          Failure to Furnish Accurate Itemized Wage Statements

            13                     ICal. Labor Code §§ 226,1174; IWC Wage Order No. 1-2001 § 71

            14                                         (Against all DEFENDANTS)

            15              42.     PLAINTIFF incorporates herein by specific reference, as though fully set forth, the

            16      allegations in paragraphs 1 through 41.

            17              43.     During the CLASS PERIOD, as part of DEFENDANTS’ illegal policies and

            18      practices to deprive PLAINTIFF and CLASS MEMBERS of all wages earned and due,

            19      DEFENDANTS knowingly and intentionally failed to maintain records as required under

            20      California Labor Code §§ 226 and 1174 and IWC Wage Order No. 1-2001 § 7, including but not

            21      limited to the following records: total daily hours worked by each employee; applicable rates of

            22      pay; all deductions; meal periods; time records showing when each employee begins and ends

            23       each work period; and accurate itemized statements.

            24              44.     As a proximate result of DEFENDANTS’ unlawful actions and omissions,

            25       PLAINTIFF and CLASS MEMBERS have been damaged in an amount according to proof at

             26      trial, and are entitled to all wages earned and due, plus interest thereon. Additionally,

             27      PLAINTIFF and CLASS MEMBERS are entitled to all available statutory penalties, including

             28      but not limited to civil penalties pursuant to California Labor Code   §§ 226(e), 226.3, and 1174.5
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                 1    and an award of costs, expenses, and reasonable attorneys’ fees, including but not limited to those

                2     provided in California Labor Code § 226(e), as well as other available remedies.

                3                                     SEVENTH CAUSE OF ACTION

                4                                  Failure to Maintain Required Records

                5                       [Cal. Labor Code § 226; IWC Wage Order No. 1-2001 § 7]

                6                                       (Against all DEFENDANTS)

                7            45.     PLAINTIFF incorporates herein by specific reference, as though fully set forth, the

                8     allegations in paragraphs I through 44.

                9            46.     During the CLASS PERIOD, DEFENDANTS routinely failed, and continue to

               10     fail, to provide PLAINTIFF and CLASS MEMBERS with timely, accurate, and itemized wage

               11     statements in writing showing each employee’s gross wages earned, total hours worked, all

               12     deductions made, net wages earned, the name and address of the legal entity or entities employing

               13     PLAINTIFF and CLASS MEMBERS, and all applicable hourly rates in effect during each pay

               14     period and the corresponding number of hours worked at each hourly rate, in violation of

               15     California Labor Code § 226 and IWC Wage Order No. 1-2001 § 7.

               16            47.     During the CLASS PERIOD, PLAINTIFF and CLASS MEMBERS suffered

               17     injury as a result of DEFENDANTS’ failure to provide timely and accurate itemized wage

               18     statements as PLAINTIFF and CLASS MEMBERS could not promptly and easily determine

               19     from the wage statement alone one or more of the following: the gross wages earned, the total

              20      hours worked, all deductions made, the net wages earned, the name and address of the legal entity

              21      or entities employing PLAINTIFF and CLASS MEMBERS, and/or all applicable hourly rates in

              22      effect during each pay period and the corresponding number of hours worked at each hourly rate.

              23             48.     As a direct and proximate result of DEFENDANTS’ unlawful actions and

              24      omissions, PLAINTIFF and CLASS MEMBERS have been damaged in an amount according to

              25      proof at trial, and seek all wages earned and due, plus interest thereon. Additionally, PLAINTIFF

              26      and CLASS MEMBERS are entitled to all available statutory penalties, including but not limited

              27      to civil penalties pursuant to California Labor Code §§ 226(e), 226.3, and 1174.5 and an award of

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               1    costs, expenses, and reasonable attorneys’ fees, including but not limited to those provided in

              2     California Labor Code § 226(e), as well as other available remedies.

           :3                                         EIGHTH CAUSE OF ACTION

              4           Failure to Indemnify Employees for Necessary Expenditures Incurred in Discharge of

              5                                                     Duties

              6                                           [Cal. Labor Code § 2802]

              7                                        (Against all DEFENDANTS)

              8              49.    PLAINTIFF incorporates herein by specific reference, as though fully set forth, the

              9     allegations in paragraphs 1 through 48.

             10              50.    California Labor Code § 2802(a) requires an employer to indemnify an employee

             11     for all necessary expenditures or losses incurred by the employee in direct consequence of the

             12     discharge of her his or her duties, or of his or her obedience to the directions of the employer.

             13              51.    During the CLASS PERIOD, DEFENDANTS failed to indemnify, and continue to

             14     fail to indemnify, PLAINTIFF and CLASS MEMBERS for all business expenses and/or losses

             15     incurred in direct consequence of the discharge of their duties while working under the direction

             16     of DEFENDANTS, including but not limited to expenses for uniforms and tools, and other

             17     employment-related expenses, in violation of California Labor Code § 2802.

             18              52.    As a proximate result of DEFENDANTS’ unlawful actions and omissions,

             19     PLAINTIFF and CLASS MEMBERS have been damaged in an amount according to proof at

             20     trial, and seek reimbursement of all necessary expenditures, plus interest thereon pursuant to

             21     California Labor Code § 2802(b). Additionally, PLAINTIFF and CLASS MEMBERS are

             22     entitled to all available statutory penalties and an award of costs, expenses, and reasonable

             23     attorneys’ fees, including those provided in California Labor Code § 2802(c), as well as other

             24     available remedies.

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                                                        NINTH CAUSE OF ACTION

                2                                 Unfair and Unlawful Business Practices

                3                                 [Cal. Bus. & Prof. Code § 17200, et seq.]

               4                                        (Against all DEFENDANTS)

                5            53.     PLAINTIFF incorporates herein by specific reference, as though fully set forth, the

                6    allegations in paragraphs 1 through 52.

               7             54.     Each and every one of DEFENDANTS’ acts and omissions in violation of the

                8    California Labor Code and/or the applicable IWC Wage Order as alleged herein, including but

               9     not limited to DEFENDANTS’ failure and refusal to provide required meal periods,

              10     DEFENDANTS’ failure and refusal to provide required rest periods, DEFENDANTS’ failure and

              11     refusal to pay overtime compensation, DEFENDANTS’ failure and refusal to pay minimum

              12     wages, DEFENDANTS’ failure and refusal to pay all wages due to discharged or quitting

              13     employees, DEFENDANTS’ failure and refusal to furnish accurate itemized wage statements;

              14     DEFENDANTS’ failure and refusal to maintain required records, DEFENDANTS’ failure and

              15     refusal to indemnify PLAINTIFF and CLASS MEMBERS for necessary expenditures and/or

              16     losses incurring in discharging their duties, constitutes an unfair and unlawful business practice

              17     under California Business and Professions Code § 17200, et seq.

              18             55.    DEFENDANTS’ violations of California wage and hour laws constitute a business

              19     practice because DEFENDANTS’ aforementioned acts and omissions were done repeatedly over

             20      a significant period of time, and in a systematic manner, to the detriment of PLAINTIFF and

             21      CLASS MEMBERS.

             22              56.    DEFENDANTS have avoided payment of wages, overtime wages, meal periods,

             23      rest periods, and other benefits as required by the California Labor Code, the California Code of

             24      Regulations, and the applicable IWC Wage Order. Further, DEFENDANTS have failed to

             25      record, report, and pay the correct sums of assessment to the state authorities under the California

             26      Labor Code and other applicable regulations.

              27             57.    As a result of DEFENDANTS’ unfair and unlawful business practices,

              28     DEFENDANTS have reaped unfair and illegal profits during the CLASS PERIOD at the expense
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                1     of PLAINTIFF, CLASS MEMBERS, and members of the public. DEFENDANTS should be

               2      made to disgorge their ill-gotten gains and to restore them to PLAINTIFF and CLASS

               3      MEMBERS.

               4              58.     DEFENDANTS’ unfair and unlawful business practices entitle PLAINTIFF and

               5      CLASS MEMBERS to seek preliminary and permanent injunctive relief, including but not

               6      limited to orders that DEFENDANTS account for, disgorge, and restore to PLAINTIFF and

               7      CLASS MEMBERS the wages and other compensation unlawfully withheld from them.

               8      PLAINTIFF and CLASS MEMBERS are entitled to restitution of all monies to be disgorged

               9      from DEFENDANTS in an amount according to proof at the time of trial, but within the

              10      jurisdiction of this Court.

              11                                         TENTH CAUSE OF ACTION

              12                                    Representative Action for Civil Penalties

              13                                       [Cal. Labor Code §§ 2698-2699.51

              14                              (Against DEFENDANT CONAGRA FOODS, INC.)

              15              59.      PLAINTIFF incorporates herein by specific reference, as though fully set forth, the

              16      allegations in paragraphs 1 through 58, with exception of the allegations in paragraph 16 and the

              17      subparagraphs thereto.

              18              60.      PLAINTIFF is an "aggrieved employee" within the meaning of California Labor

              19      Code § 2699(c) and a proper representative to bring a civil action on behalf of himself and other

              20      current and former non-exempt employees of DEFENDANT CONAGRA FOODS pursuant to the

              21      procedures specified in California Labor Code § 2699.3, because PLAINTIFF and CLASS

              22      MEMBERS were employed by DEFENDANT CONAGRA FOODS and the alleged violations of

              23      the California Labor Code were committed against PLAINTIFF and CLASS MEMBERS.

              24               61.     Pursuant to the California Private Attorneys General Act of 2004 ("PAGA"),

              25      Labor Code §§ 2698-2699.5, PLAINTIFF seeks to recover civil penalties, including but not

              26      limited to penalties under California Labor Code §§ 2699, 210, 226.3, 558, 1174.5, and 1197.1

              27      and IWC Wage Order No. 1-2001 § 20, from DEFENDANT CONAGRA FOODS in a

              28      representative action for the violations set forth above, including but not limited to violations of
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              1     California Labor Code §§ 201, 202, 203, 204, 226, 226.7, 510, 512, 1174, 1194, 1197, 1198, and

              2     2802. PLAINTIFF is also entitled to an award of reasonable attorneys’ fees and costs pursuant to

              3     -California Labor Code § 2699(g)(1).

              4             62.     Pursuant to California Labor Code § 26993, on August 10, 2015, PLAINTIFF

              5     gave written notice by certified mail to the California Labor and Workforce Development Agency

              6     ("LWDA") and DEFENDANT CONAGRA FOODS of the specific provisions of the California

              7     Labor Code and IWC Wage Orders alleged to have been violated, including the facts and theories

              8     to support the alleged violations. More than thirty-three (33) calendar days of the postmark date

              9     of PLAINTIFF’S notice letter has passed and the LWDA has not provided notice to PLAINTIFF

            10      that it intends to investigate the alleged violations.

            11              63.     Therefore, PLAINTIFF has complied with all’ of the requirements set forth in

            12      California Labor Code § 2699.3 to commence a representative action under PAGA.

            13                                             PRAYER FOR RELIEF

            14              WHEREFORE, PLAINTIFF, individually and on behalf of all others similarly situated,

            15      respectfully prays for relief against DEFENDANT CONAGRA FOODS as follows:

             16             1.      For compensatory damages in an amount to be ascertained at trial;

             17             2.      For restitution of all monies due to PLAINTIFF and CLASS MEMBERS, as well

             18      as disgorged profits from DEFENDANT CONAGRA FOODS’ unfair and unlawful business

             19     practices;

            20              3.      For meal and rest period compensation pursuant to California Labor Code § 226.7

             21      and IWC Wage Order No. 1-2001;

            22              4.       For liquidated damages pursuant to California Labor Code §§ 1194.2 and 1197.1;

             23             5.       For preliminary and permanent injunctive relief enjoining DEFENDANT

             24      CONAGRA FOODS from violating the relevant provisions of the California Labor Code and the

             25      IWC Wage Orders, and from engaging in the unlawful business practices complained of herein;

             26             6.       For waiting time penalties pursuant to California Labor Code § 203;

             27              7.      For statutory and civil penalties according to proof; including but not limited to all

             28      penalties authorized by the California Labor Code §§ 226(e) and 2699;
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              1            8.      For interest on the unpaid wages at 10% per annum pursuant to California Labor

              2     Code §§ 218.6, 1194, and 2802, California Civil Code §§ 3287 and 3288, and/or any other
                    applicable provision providing for pre-judgment interest;

              4            9.      For reasonable attorneys’ fees and costs pursuant to California Labor Code

              5     §§ 1194, 2699, and 2802, California Civil Code § 1021.5, and any other applicable provisions

              6     providing for attorneys’ fees and costs;

              7             10.    For declaratory relief;

              8             11.    For an order certifying the First, Second, Third, Fourth, Fifth, Sixth, Seventh,

              9     Eighth, and Ninth Causes of Action as a class action;

            10              12.    For an order appointing PLAINTIFF as class representative and PLAINTIFF’s

             11     counsel as class counsel; and

            12              13.    For such further relief that the Court may deem just and proper.

             13            PLAINTIFF, individually and on behalf of all others similarly situated, further

            14      respectfully prays for relief against DEFENDANT RALCORP HOLDINGS, DEFENDANT

             15     RALSTON FOODS, DEFENDANT BLOOMFIELD BAKERS, DEFENDANT LOVIN OVEN,

             16     and DOES I through 50, inclusive, as follows:

             17             1.     For compensatory damages in an amount to be ascertained at trial;

             18             2.     For restitution of all monies due to PLAINTIFF and CLASS MEMBERS, as well

             19     as disgorged profits from DEFENDANT RALCORP HOLDINGS, DEFENDANT RALSTON

            20      FOODS, DEFENDANT BLOOMFIELD BAKERS, DEFENDANT LOVIN OVEN, and DOES I

            21      through 50’s unfair and unlawful business practices;

            22              3.      For meal and rest period compensation pursuant to California Labor Code § 226.7

             23     and JWC Wage Order No. 1-2001;

             24             4.      For liquidated damages pursuant to California Labor Code §§ 1194.2 and 1197.1;

             25             5.      For preliminary and permanent injunctive relief enjoining DEFENDANT

             26     RALCORP HOLDINGS, DEFENDANT RALSTON FOODS, DEFENDANT BLOOMFIELD

             27     BAKERS, DEFENDANT LOVIN OVEN, and DOES I through 50 from violating the relevant

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                       provisions of the California Labor Code and the IWC Wage Orders, and from engaging in the

                2      unlawful business practices complained of herein;
                              6.      For waiting time penalties pursuant to California Labor Code § 203;

                4’
                              7.      For statutory and civil penalties according to proof, including but not limited to all

                5’ penalties authorized by the California Labor Code § 226(e);
                6             8.      For interest on the unpaid wages at 10% per annum pursuant to California Labor

                7      Code §§ 218.6, 1194, and 2802, California Civil Code          §§ 3287 and 3288, and/or any other

                8      applicable provision providing for pre-judgment interest;

                9             9.      For reasonable attorneys’ fees and costs pursuant to California Labor Code

               10      §§ 1194 and 2802, California Civil Code § 1021.5, and any other applicable provisions providing

               11      for attorneys’ fees and costs;

              12               10.    For declaratory relief;

               13              11.    For an order requiring and certifying the First, Second, Third, Fourth, Fifth, Sixth,

               14      Seventh, Eighth, and Ninth Causes of Action as a class action;

               15              12.    For an order appointing PLAINTIFF as class representative and PLAINTIFF’s

               16      counsel as class counsel; and

               17              13.    For such further relief that the Court may deem just and proper.

               18
               19      DATED: October .,, 2015                        Respectfully submitted,

               20                                                     MATERN LAW GROUP
               21
               22                                               By.___
               23                                                     Attorneys for Plaintiff MOISES NEGRETE,
                                                                      individually and on behalf of all others similarly
               24                                                     situated
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              I                                         DEMAND FOR JURY TRIAL

              2             PLAINTIFF, individually and on behalf of all others similarly situated, hereby demands a
                    trial by jury on all issues so triable.

              4
                    DATED: October j, 2015                          Respectfully submitted,

              6                                                     MATERN LAW GROUP
              7
              8                                               By:__
                                                                  ATTHEW J. MkT1RN
              9                                                Attorneys for Plaintiff MOISES NEGRETE,
                                                               individually and on behalf of all others similarly
            10                                                 situated
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   Manhattan Beach, California 90266
             TaEPHONENO.:    (310)531-1900                       FAXNO.:   (310) 531-1901                                       OCT20 2015
  ATTORNEY FOR (Namo)’       MOISES NEGRETE                                                                      Sherri   R. Carlo(, Exoctitive officer/Clerk
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF                   LOS AN GELES
        STREET AtMRESS:      Ill North Hill Street                                                                       BY Shatiuiya Bolden, Deputy
      MAILINGS ADDRESS:      Ill North Hill Street                                                                              -
     CITY AND uP cODE:       Los Angeles, California 90012-3014
              BRANCH NAME:   Centrall)istrict
   CASE NAME:
   Moises Negrete            Foods, Inc.,
                                vs.   Conagra                    et. al.                                               ____
      CIVIL CASE COVER SHEET        I                                Complex Case Deslgnad on
                                                                                                               CASE                 5 98 468
  121        Unlimited              El   Limited            I   El     Counter        El     Joinder
             (Amount                     (Amount            I                                                   JUDGE:
             demanded                    demanded is      I     Filed with first appearance by defendant
             exceeds $25,000)            $25,000 or less)   J       (Cal. Rules of Court, rule 3.402)            DEFT:



  1. Check one box below for the case type that best describes this case:
     Auto Tort                                    Contract                                              Provisionally Complex Civil Litigation
           Auto (22)                                            El
                                                        Breach of contract/warranty (06)                (Cal. Rules of Court, rules 3.400-3.403)

     EJ    Uninsured motorIst (46)                              El
                                                        Rule 3.740 collections (09)                     El
                                                                                                    Antitrust/Trade regulation (03)
    Other PIIPDIWD (Personal Injury/Properly              Other El
                                                                 collections   (09)            El   Construction defect (10)
    Damage/WrOngfut Death) Tort                     El trurance coverage (18)                  CI] Mass tort (40)
     {i] Asbestos (04)                                          El
                                                          Otl,eI’ contract (37)                     Securities litigation (28)
     IT] Product liability (24)                     Real Property                              IT] Environmental/Toxic tort (30)
     [T] Medical malpractice (45)                          Eminent domainhinverse              [] insurance coverage claims arising from the
                                                          condemnation (14)                          above listed provisionally complex case
     ITI Other PI/PD/WO (23)                                                                         types (41)
     Non-PIIPDIWD (Other) Tort                                  El
                                                          Wrongful   eviction   (33)
     El Business tort/unfair business pracllce (07)             El
                                                           Other real property (26)            Enforcement of Judgment
                                                    Unlawful Detalner                          El    Enforcement of judgment (20)
            Civil rights (08)
     [TI DefamatIon (13)                            CIII   Commercial    (31)                  Miscellaneous   Civil Complaint
     CII]   Fraud   (16)                            [1]    ResIdential  (32)                   L]    RICO   27)
     C1 Intellectual property (19)                  [] Drugs (38)                                        El
                                                                                                     Other complaint (not specified above) (42)
            Professional negligence (25)            Judicial Review                            Miscellaneous Civil Petition
     CI] Other non-PI/PD= tort 35)                              El
                                                           Asset forfeiture (05)                         El
                                                                                                     Partnership and corporate governance (21)
                                                           Petition re: arbitration award (11)
      Employment
       !                                                                                       [I] Other petition (not specified above) (43)
     LJ wrongful termination (36)                   L..J Writ of mandate (02)
     [iII Other employment (15)                                 El
                                                           Other judicial review (39)
  2. This case 1121115          [Ti is not    complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
      factors requiring exceptional judicial management
        a.El     Large number of separately represented parties          d. £11 Large number of witnesses
        b.El        Extensive motion practice raising difficult or novel         e.   El Coordination with related actions pending in one or more courts
                    issues that will be time-Consuming to resolve                          in other counties, states, or countries, or in a federal court
        c.          Substantial amount of documentary evidence                   f.   El Substantial postjudgment judicial supervision
  3. Remedies sought (check all that apply): a.121 monetary b. 11211 nonmorietary; declaratory or injunctive relief                                   c. =punitive
  4. Number of causes of action (specify): Ten (10)
  5. This case IZil is                   El
                                   is not a class action suit.
  6. If there are any known related cases, file and serve a notice of rela

  Date: October 19, 2015
  Matthew J. Materrt
                                    ,rpc na aPiruT flJfl

     Plaintiff must file this cover sheet with the first paper flied in the action or proceeding (except small claims cases or cases filed
       under the Probate Code, Family Code, or Welfare and institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
       in sanctions.
     File this cover sheet in addition to any cover sheet required by local court rule.
     If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
       other parties to the action or proceeding.
     Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.    lot
   Form Mopied for Mandatory Use                                                                                      Cal. Rules N Court. rule, 2.30. 320. 3.400-3.403.3.74t
     JudicIal Council at CeOtomlo
                                                                CIVIL CASE COVER SHEET                                       Cob. standards at Judicial AdmlnbsIallcrn. Old. 3.10
      cm .010 tRee. July 1. 20071                                                                                                                          www.cowlur.ca.9Ov




                                                                                                                                                                                    27
Case 2:16-cv-00631-FMO-AJW Document 4-1 Filed 01/28/16 Page 25 of 38 Page ID #:53


 - .t,




                                                                                                                                                    - 0
                                          INSTRUCTIONS ON HOW TOCONIPLETETI-IE COVER SHEET
    To Plaintiffs and Others Filing First Papers. If you are filing a first paper (For example, a complaint) in a civil case, you must
    complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
    statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
    one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
    check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
    To assist you in completing the sheet, examples of the cases that belong under each case type in item I are provided below. A cover
    sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
    its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
    To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
    owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney’s fees, arising from a transaction in
    which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
    damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
    attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
    time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
    case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
    To Parties In Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
    case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
    completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
    complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
    plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
    the case is complex.                                       CASE TYPES AND EXAMPLES
    Auto Tort                                         Contract                                           Provisionally Complex Civil Litigation (Cal.
         Auto (22)-Personal Injury/Property              Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
              Damage/Wrongkil Death                           Breach of Rental/Lease                          MtltrustiTrade Regulation (03)
         Uninsured Motorist (46) (if the                           Contract (not unlawful detainer            Construction Defect (10)
              case Involves an ur,insired                              or wrongful eviction)                  Claims Involving Mass Tort (40)
              motorist claim subject to                       Contract/Warranty Breath-Seller                 Securities Litigation (28)
              arbitration, check this Item                         Plalnilif (not fraud or negligence)        Environmental/Toxic Tort (30)
              instead of Auto)                                Negligent Breach of ContrcV                     Insurance Coverage Claims
                                                                   Warranty                                       (arising from provisionally complex
    Other PI1PD1WD (Personal injury!
                                                              Other Breach of Contra ctfiNarranty                 case type listed above) (41)
    Property DarnagelWrongful Death)
                                                         Collections (e.g., money owed, open               Enforcement of Judgment
    Tort
                                                              book accounts) (09)                             Enforcement of Judgment (20)
         Asbestos (04)
              Asbestos Property Damage                        Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
                                                              Other Promissory Nole/Coflections                         County)
              Asbestos Personal Injury!
                                                                   Case                                            Confession of Judgment (non-
                    Wrongful Death
                                                         Insurance Coverage (not provisionally                          domestic relations)
         Product Liability (not asbestos or
                                                              complex) (18)                                        Sister State Judgment
              foxicJenvironmenfai) (24)
         Medical Malpractice (45)                             Auto Subrogation                                     Administrative Agency Award
              Medical Malpractice-                            Other Coverage                                           (not unpaid taxes)
                                                         Other Contract (37)                                       Petition!Certificaion of Entry of
                    Physicians .& Surgeons
                                                              Contractual Fraud                                       Judgment on Unpaid Taxes
              Other Professional Health Care
                                                              Other Contract Dispute                               Other Enforcement of Judgment
                     Malpractice                                                                                        Case
         Other Pl/PD1WD (23)                          Real Property
                                                          Eminent Domain/Inverse                           Miscellaneous Civil Complaint
               Premises Liability (e.g., slip
                                                              Condemnation (14)                                RICO (27)
                    and fall)
               Intentional Bodily Injury/PDIWD           Wrongful Eviction (33)                                Other Complaint (not specified
                                                                                                                   above) (42)
                     (e.g., assault, vandalism)           Other Real Properly (e.g., quiet title) (28)             Declaratory Relief Only
               Intentional Infliction of                      Writ of Possession of Real Property                  injunctive Relief Only (non-
                     Emotional Distress                        Mortgage Foreclosure                                    harassment)
               Negligent Infliction of                         Quiet Title                                         Mechanics Lien
                     Emotional Distress                        Other Real Property (not eminent                    Other ConimclaI Complaint
               Other PI/PD/WD                                  domain, lancLfordl?errant, or                           Case (non-tort/non-complex)
    Non-PIIPDIWD (Other) Tort                                  foreclosure)
                                                                                                                   Other Civil Complaint
         Business Tort/Unfair Business                Unlawful Detalrier                                               (non-to#/non-complex)
             Practice (07)                                Commercial (31)                                  Miscellaneous Civil Petition
         Civil Rights (e.g., discrimination,              Residential (32)                                    Partnership and Corporate
              false arrest) (not civil                    Drugs (38) (if the case involves illegal                 Governance (21)
               harassmen) ( 08)                                drugs, check this item; otherwise,             Other Petition (not specified
          Defamation (e.g., slander, libel)                    report as Commercial or Residential)                above) (43)
                (13)                                  Judicial Review                                              Civil Harassment
          Fraud (16)                                      Asset Forfeiture (05)                                    Workplace Violence
          Intellectual Property (19)                      Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
          Professional Negligence (25)                    Writ of Mandate (02)                                          Abuse
              Legal Malpractice                                Writ-Administrative Mandamus                        Election Contest
              Other Professional Malpractice                   Writ-Mandamus on Limited Court                      Petition for Name Change
                   (not medical or legal)                          Case Matter                                     Petition for Relief From Late
           Other Non-PIIPDIWD Tort (35)                        Writ-Other Limited Court Case                            Claim
     Employment                                                    Review                                          Other Civil Petition
          Wrongful Termination (36)                       Other Judicial Review (39)
          Other Employment (15)                                 Review of Health Officer Order
                                                                Notice of Appeal-Labor
                                                                   Commissioner Appeals
         cM.olo lRev. July 1. 20071                                                                                                                Page 2 of 2
                                      -                    CIVIL CASE COVER SHEET




                                                                                                                                                                 4:]
Case 2:16-cv-00631-FMO-AJW Document 4-1 Filed 01/28/16 Page 26 of 38 Page ID #:54


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  SHORTTJTLE:                                                                                                    CASE NUMBER
                                                                                                                                      BC 5              8 4 68
                       Moiss Negrete vs. Conagra Foods, Inc., et.al .
                                                                                                             I
                                      CIVIL CASE COVER SHEET ADDENDUM AND
                                              STATEMENT OF LOCATION
                       (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                 This form Is required pursuant to Local Rule 2.0 in all new civil case filings in the Los Angeles Superior Court.
                                                                                                                                                                         j
   Item I.            Check the types of hearing and fill in the estimated length                of hearing expected for this case:
        JURY TRIAL?          0 YES CLASS ACTION? V YES LIMITED CASE? EYES TIME ESTIMATED FOR TRIAL                                        15-20   El     HOURSIIZI DAYS

   Item II. Indicate the correct district and courthouse location (4 steps - If you checked ’Limited Case, skip to Item Ill, Pg. 4):


        Step 1:           After first completing the Civil Case Cover Sheet form, find the main Civil Case Cover Sheet heading for your
        case in the left margin below, and, to the right in Column                    A,   the Civil Case Cover Sheet case type you selected.


        Step 2:           Check one Superior Court type           of action in Column B          below which best describes the nature            of this case.

        Step 3:  In Column C, circle the reason for the court location choice that applies to the type of action                               you have
        checked. For any exception to the court location, see Local Rule 2.0.

                                   Applicable Reasons for Choosing Courthouse Locaion (see Column C below)
                                                                                                                                                1
          1.     Class actions must be filed in the Stanley Mosk Courthouse. central district.         6. Location of property or permanently garaged vehicle.
          2.     May be filed in central (other county, or no bodily Injury/property damage).          7. Location where petitioner resides.
          3.     Location where cause of action arose.                                                 8. Location wherein defendant/respondent functions wholly.
          4.     Location where bodily injury, death or damage occurred.                               9. Location where one or more of the parties reside.
          5.     Location where performance required or defendant resides.                            10. Location of Labor Commissioner Office


         Step 4: Fill        in the information requested on page 4 in Item Ill; complete Item IV. Sign the declaration.



                                      A                                                              B                                                           C
                           civil Case CoverSheet                                             Type of Action                                         Applicable Reasons
                                Category No                                                 (Check only one)’ . .                                    See Step 3 Above

                                  Auto (22)               13 A7100 MolorVehicle - Personal Injury/Property Damage/Wrongful Death                    1.. 2., 4.
        2t

                           Uninsured Motorist (46)        0 A7 1110 Personal Injury/Property DamageNVrongful Death - Uninsured Motorist             1., 2.. 4.


                                                          0 A6070 Asbestos Property Damage                                                          2.
                                Asbestos (04)
                                                          o A7221 Asbestos . Personal Injury/Wrongful Death                                         2.
        W 0
        0. )
                            Product Liabilily (24)        0 A7260 Product Liability (not asbestos or toxic/environmental)                           1., 2.. 3.. 4.. B.
        11_ cc
                 a)

        .. -
                                                          o   A721 0 Medical Malpractice - Physicians & Surgeons
                           Medical Malpractice (45)
                                                          0 A7240 Other Professional Health Care Malpractice                                        1.4.
                 -
                                                          o A7250 Premises Liability (e.g., slip and fat)
        a)       U
                 tm                Other                                                                                                                 4,
                 cc
                               Personal Injury            a A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g..                   1 4
                              Property Damage                          assault, vandalism. etc.)
                               Wrongful Death                                                                                                       1., 3.
                                                          0 A7270 Intentional Infliction of Emotional Distress
                                    (23)
                                                      .                                                                                             1    4
                                                          0 A7220 Other Personal Injury/Property Damage/Wrongful Death



    LACIV 109 (Rev. 03111)                                CIVIL CASE COVER SHEET ADDENDUM                                                      Local Rule 2.0
    LASC Approved 03.04                                      AND STATEMENT OF LOCATION                                                              Page 1 of 4




                                                                                                                                                                             29
Case 2:16-cv-00631-FMO-AJW Document 4-1 Filed 01/28/16 Page 27 of 38 Page ID #:55




 SNORT TITLE:                                                                                                CASE NUMBER
                  Moises    Negrete   vs.   Conagra       Foods,    Inc., et.aI.



                                   A                                                             B                             .:
                        Civil Case Cover Sheet                                             Type of Action                                       ApplIcable Reasons
                              Category No                                                 (Check only one)                                  .    Se Step 3 Above

                          Business Tort (07)             0 A5029 Other Commercial/Business Tort (not fraud/breach of contract)


    a’-                    Civil Rights (08)             IJ A5005 Civil Rights!DlsCrirnlnatiofl
             cc
                           Defamation (13)               0 A6010 Defamation (slander/libel)

    = D)
                              Fraud (16)                 0 A6013 Fraud (no contract)
    0
    (a                                                                                                                                          1., 2, 3.
    ’-a,                                                 El   A6017 Legal Malpractice
    a, o
             to     Professional Negligence (25)
    a                                                    U A6050 Other Professional Malpractice (not medical or legal)                          1., 2.,   a
    z
                              Other (35)                 U A5025 Other Non-Personal Injury/Property Damage tort                                 2.3.


                     Wrongful Termination (36)           U A5037 Wrongful Termination                                                           1., 2., 3.
        a,
        E
        >.
        0
        0.
                                                         W A6024 Other Employment Complaint Case                                            3k 2., 3.
                        Other Employment (15)
        E                                                     A6109 Labor Commissioner Appeals                                                  10.
     551


                                                              A6004 Breach of RentatiLease Contract (not unlawful detainer or wrongful
                                                                     eviction)
                    Breach of ContracLI Warranty                                                                                                2., 5.
                                                         El A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negfgence)
                            (not insurance)                                                                                                     1., 2., 5.
                                                         a    A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                                1., 2., 5.
                                                         o    A5026 Other Breach of Contract/Warranty (not fraud or negligence)

        U
        CU                                               El A6002 Collections Case-Seller Plaintiff                                             2., 5., 6.
                            Collections (09)
        0                                                U ASOl 2 Other Promissory Note/Collections Case                                        Z. 5.


                        Insurance Coverage (18)          El A6015 Insurance Coverage (not complex)                                              1., 2., 5., B.


                                                         a    A6009 Contractual Fraud                                                           1., 2., 3., 5.

                          Other Contract (37)            0 A6031 Tortious Interference                                                          1., 2., 3.,5.

                                                         o    A6027 Other Contract Dispute(not breach/insuraricef fraud/negligence)             1., 2., 3., 8.

                        Eminent Domaierse                                                                        Number of parcels
                                                         El A7300 Eminent Domain/Condemnation
                         Condemnation (14)
        F’
        W
        0
        0
             .           Wrongful Eviction (33)          El A6023 Wrongful Eviction Case                                                        2..6,

        0-
                                                         O A6018 Mortgage Foreclosure                                                           2..6.
        CU
        a’
                        Other Real Property (26)         0 A6032 Quiet Title                                                                    2., 6.

                                                         0 A6060 Other Real Property (not eminent domain, landlord!tenarrt, foreclosure)        2., 6.

                    Unlawful Detainer-Commercial                                                                                                2..S.
                                                              A6021 Unlawful Delalner-Corflmerclal (not drugs or wrongful eviction)
        a,
        (U          Unlawful Detainer-Residential
        a,                                                El A5020 Unlawful Defamer-Residential      (fbI   drugs or wrongful eviction)          2., 6.
        0

                          Unlawful Detalner-                                                                                                    2.. 6.
                                                          0 A6020F Unlawful Detalner-Post-Foreclosure
         CU              Post-Foreclosure (34)

                    U                             (38)    0 A6022 Unlawful Detalner-Drugs                                                        2., S.




   LACIV 109 (Rev. 03/11)                                CIVIL CASE COVER SHEET ADDENDUM                                                   Local Rule 2.0
   LASC Approved 03-04                                      AND STATEMENT OF LOCATION                                                            Page 2of4




                                                                                                                                                                     30
Case 2:16-cv-00631-FMO-AJW Document 4-1 Filed 01/28/16 Page 28 of 38 Page ID #:56




 5HT TITLE:                                                                                               CASE NUMBER
                     Moises Negrete vs. Conagra Foods, Inc., et.aI.

                                                                                                                        Wig-
                                      A                                             .
                          Civil Case Cover Sheet                          ..
                                Category No.

                           Asset Forfeiture (05)         0    P.6108 Asset Forfeiture Case

                         Petition re Arbitration (11)    0 A6115 Petition to Compel/ConfiflTiNacale Arbitration                 2..5.
      >
                                                         o P.6151 Writ - Administrative Mandamus                                2.. 8.
      Ia
      U                    Writ of Mandate (02)          0 A6152 WrIt- Mandamus on Limited Court Case Matter                    2.

                                                         o P.6153 Writ- Other Umlied Court Case Review                          2.


                        Other Judicial Review (39)       0 A6150 Other Writ /Judlclal Review                                    2., 8.


                      Altiln.istfTrade Regulation (03)   0 A6003 .ArditrusllTrade Regulation
      0


                         Construction Defect (10)        0 A0007 Construction Defect                                             1., 2.. 3.
     -J

      0)
      CL
                        Claims Involving Mass Tort       o P.5006 Claims Involving Mass Tort                                     1., 2., 8.

      0
     C)                  Securities Litigalion (28)      LI   A6035 Securities Litigation Case
      ’5
      C                          Toxic Tort
      0                                                  0 P.5036 Toxic Tort/EnvIronmental                                       1..2., 3., B.
      Il)                    Environmental (30)

     0
                       Insurance Coverageaus             0 A6014 Insurance Coverage/Subrogation (complex case only)              1., 2.. 5., 8.
                         from Complex Case

                                                         LI   A6141 Sister State Judgment                                        2..9.

                                                         o A6150 AbstractofJUdgmeflL                                             2., 6.
    0)0)
                                                         LI   A6107 Confession of Judgment (non-domestic relations)              2., 9.
    0) CM                       Enforcement
    o -
                              of Judgment (20)           LI A6140 Administrative Agency Award (not unpaid taxes)                 2..8.
    0
   ..-
    C .
   lu 0                                                  o A6114 Petition/Certificale for Entry of Judgment on Unpaid Tax        2., 8.

                                                         O A6112 Other Enforcement of Judgment Case                              2., 8., 9.


                                  RICO (27)              0 A6033 Racketeering (RICO) Case
            U)

    0 c
                                                         o A6030 Declaratory Relief Only
   cc
   =        0                                            0    P.6040 Injunctive Relief Only (not domestic/harassment)            2., 8.
                             Other Complaints
    UP
    14)                  (Not Specified Above) (42)      0 A6011 Other Commercial Complaint Case (non-tort/non-complex)          1., 2., 8.

                                                         o    A6000 Other Civil Complaint (non-tort/non-complex)                 1., 2., 8.

                          Partnership Corporation                                                                                2..8.
                                                         LI A61 13 Partnership and Corporate Governance Case
                              Governance (21)

                                                         LI   A6121 Civil Harassment                                             2.. 3.. 9.
    In          to
                                                         o A6123 Workplace Harassment                                            2,1.9.
    g       .


                                                         o A6124 Eider/Dependent Adult Abuse Case                                2., 3., 9.
                               Other Petitions
                            (Not Specified Above)        0 A6190 Election Contest                                                2.
                                     (43)                                                                                        2., 7.
                                                         0 A6110 Petition for Change of Name
                                                         o P.6170 Petition for Relief from Late Claim Law                        2., 3.. 4., 8.

                                                         LI    A6100 Other Civil Petition                                         2., 9.




   LACIV 109 (Rev. 03111)                                CIVIL CASE COVER SHEET ADDENDUM                                       Local Rule 2.0

   LASC Approved 03-04                                        AND STATEMENT OF LOCATION                                           Page 3 of 4




                                                                                                                                                  31
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     .1 1.




 SHORT TITLE:                                                                              CASE NUMBER
                 Moises Negrete vs. Conagra Foods, Inc., et.aI.


  Item III. Statement of Location: Enter the address of the accident, party’s residence or place of business, performance, or other
  circumstance. indicated in Item IL, Step 3 on Page 1 as the proper reason for filing in the court location you selected.

                                                                       ADDRESS:
   REASON: Check the appropriate boxes for the numbers Shown Bloomfield Bakers, LLC
   under Column C for the type of action that you have selected for 16100 E. Foothill Blvd.
   this case.

             011. 02. 03. 04. 135. 06. E37. 08. 09. 010.


                                             I
   CITY:                                         STATE:   ZIP COOS:

   Azusa                                         CA       91702


  Item IV. Declaration of Assignment. I declare under penalty of penury under the laws of the State of California that the foregoing is true
  and correct and that the above-entitled matter is properly filed for assignment to the Stanley Mosk                   courthouse in the
  Central                   District of the Superior Court of California, County of Los Angeles [Code CIV. Proc., § 392 et seq., and Local
  Rule 2.0, subds. (b), (c) and (d)].




  Dated: October 19, 2015
                                                                                       (SIGNATURE OF ATTORNEY!     3 PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

           1.   Original Complaint or Petition.

           2.   If filing a Complaint, a completed Summons form for issuance by the Clerk.

           3.   Civil Case Cover Sheet, Judicial Council form CM-010.

           4.   Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
                03/11).

           5.   Payment in full of the filing fee, unless fees have been waived.

           6.   A signed order appointing the Guardian ad Litern, Judicial Council form CIV-01 0, if the plaintiff or petitioner is a
                minor under 18 years of age will be required by Court In order to issue a summons.

           7.   Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
                must be served along with the summons and complaint, or other initiating pleading in the case.




   LACIV 109 (Rev. 011)                          CIVIL CASE COVER SHEET ADDENDUM                                           Local Rule 2.0
   LASC Approved 03.04                              AND STATEMENT OF LOCATION                                                 Page 4 of 4



                                                                                                                                               32
     Case 2:16-cv-00631-FMO-AJW Document 4-1 Filed 01/28/16 Page 30 of 38 Page ID #:58


..
                                          SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                NOTICE OF CASE ASSIGNMENT - CLASS ACTION CASES
                                                     Case Number
                                                THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT
                                                        all purposes 10 lflC juuiciai 00115cr Inulcalca oem’-" tovai Rulle J..,c.
                                  Vur case Is assigned for

                                                 ASSIGNED JUDGE                               DEPT               ROOM

                                         Judge Elihu M. Berle                                   323                1707                 BC 5 .8 4 6 8
                                         Judge William F. Highbcrger                                                1702

                                         Judge John Shepard Wiley, Jr.                          311                1408

                                         Judge Kenneth Freeman                                  310                1412

                                          Judge Jane Johnson                                     308                1415

                                          Judge Amy D. Hogue                                     307                1402

                                          OTHER

                                                    Instructions for handling Class Action Civil Cases
     The following critical provisions of the Chapter Three Rules, as applicable in the Central District, are summarized for your assistance.

     APPLICATION                                                                     -
     The Chapter Three Rules were effective January 1, 1994. They apply to all general civil cases.

     PRIORITY OVER OTHER RULES
     The Chapter ’Three Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

     CHALLENGE TO ASSIGNED JUDGE
     A challenge under Code of Civil Procedure section 170.6 must be made within 15 days after notice of assignment for all purposes to a
     judge, or if a party has not yet appeared, within 15 days of the first.appearance.

     TIME STANDARDS
     Cases assigned to the Individual Calendaring Court will be subject to processing under the following time standards:

     COMPLAINTS: All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days of filing.
     CROSS-COMPLAINTS: Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is
     filed. Cross-complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.
     A Status Conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the complaint.
     Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement, trial date, and expert
     witnesses.
      FiNAL STATUS CONFERENCE
      The Court will require the parties at a status conference not more than 10 days before the trial to have timely filed and served all motions
       in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested jury instructions, and special jury
 instructions and special jury verdicts. These matters may be heard and resolved at this conference. At least 5 days before this conference,
       counsel must also have exchanged lists of exhibits and witnesses and have submitted to the court a brief statement of the case to be read to
       the jury panel as required by Chapter Eight of the Los Angeles Superior Court Rules.
      SANCTIONS
      The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the Court, and
      time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party or if appropriate on
      counsel for the part)’.
      This Is not a complete delineation of the Chapter Three Rules, and adherence only to the above pnrelaIy,lj therefore not a guarantee against the imposition   of
      sanctions under Trial Court Delay Reduction. Careful reading and compliance with t)lfctuaI Chapter RultqfjmIutelr Imperative.

      Given to the PlaintifflCross-ComplainanilAttorney of Record on                               _        1ERR1 R. CA1.(/ cutive Officer/Clerk

      LACWCCW 190 (RcvO9113)
      LASC Approved 05-06                                                                                     By                                     ,Deputy Clerk
      For Optical Use
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                              SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                               ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION

         For additional ADR information and forms visit the Court ADR web application at www.lasuperiorcourt.org (dick on ADR).

          The plaintifflpetilioner shall serve a copy of this form on each defendant/respondent along with the complaint (Civil only).

 What Is ADR:
 Alternative Dispute Resolution (ADR) is the term used to describe all the other options available for settling a dispute which once had to be
 settled in court. ADR processes, such as arbitration, mediation, neutral evaluation, and settlement conference are less formal than a court
’process and provide opportunities for parties to reach an agreement using a problem-solving approach.

There are many different kinds of ADR. All of them utilize a ’neutral’, an impartial person, to decide the case or help the parties reach an
agreement.

 Arbitration:
’In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from each side and then decides the outcome of the
  dispute. Arbitration is less formal than a trial, and the rules of evidence are often relaxed. Arbitration may be either "binding" or
 "nonbinding." Binding arbitration means that the parties waive their right to a trial and agree to accept the arbitrator’s decision as final.
 Nonbinding arbitration means that the parties are free to request a trial if they do not accept the arbitrator’s decision.

          Cases for Which Arbitration May Be Appropriate
          Arbitration is best for cases where the parties want another person to decide the outcome of their dispute for them but would like to
          avoid the formality, time, and expense of a trial. It may also be appropriate for complex matters where the parties want a decision-
          maker who has training or experience in the subject matter of the dispute.

          Cases for Which Arbitration May Not Be Appropriate
          If parties want to retain control over how their dispute is resolved, arbitration, particularly binding arbitration, Is not appropriate. In
          binding arbitration, the parties generally cannot appeal the arbitrator’s award, even if it is not supported by the evidence or the law.
          Even in nonbinding arbitration, if a party requests a trial and does not receive a more favorable result at trial than in arbitration,
          there may be penalties.

Mediation:
In mediation, a neutral person called a "mediator" helps the parties try to reach a mutually acceptable resolution of the dispute. The
mediator does not decide the dispute but helps the parties communicate so they can try to settle the dispute themselves. Mediation leaves
control of the outcome with the parties.

          Cases for Which Mediation May Be Appropriate
          Mediation may be particularly useful when parties have a dispute between or among family members, neighbors, or business
          partners. Mediation is also effective when emotions are getting in the way of resolution. An effective mediator can hear the
          parties out and help them communicate with each other in an effective and nondestructive manner.

          Cases for Which Mediation May t ot     L Be Appropriate
          Mediation may not be effective if one of the parties is unwilling to cooperate or compromise. Mediation also may not be effective if
          one of the parties has a significant advantage in power over the other. Therefore, it may not be a good choice if the parties have a
          history of abuse or victimization.

Neutral Evaluation:
In neutral evaluation, each party gets a chance to present the case to a neutral person called an "evaluator." The evaluator then gives an
opinion on the strengths and weaknesses of each party’s evidence and arguments and about how the dispute could be resolved. The
evaluator is often an expert in the subject matter of the dispute. Although the evaluator’s opinion is not binding, the parties typically use it
as a basis for trying to negotiate a resolution of the dispute.

          Cases for Which Neutral Evaluation May Be Appropriate
          Neutral evaluation may be most appropriate in cases in which there are technical issues that require special expertise to resolve or
          the only significant issue In the case is the amount of damages.

          Cases for Which Neutral Evaluation May !.Not Be Appropriate
          Neutral evaluation may not be appropriate when there are significant personal or emotional barriers to resolving the dispute.

Settlement Conference:
A settlement conference may be either mandatory or voluntary. in both types of settlement conferences, the parties and their attorneys
meet with a judge or a neutral person called a "settlement officer" to discuss possible settlement of their dispute ; The judge or settlement
officer does not make a decision in the case but assists the parties in evaluating the strengths and weaknesses of the case and in
negotiating a settlement. Settlement conferences are appropriate in any case where settlement is an option: Mandatory settlement
conferences are often held dose to the date a case Is set for trial.

  LMDROOS(Rev 01-12)                                                                                                          Cal, Rules o! Court, rule 3221
  IASC Acoptecl 10-03
                                     ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION
                                                                                                                                                 Page 1 of 2




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                                                                                   COURT AIDR PROGRAMS
       CIVIL:.
          Arbitration (non-binding) (Code Civ. Proc. §§ 1141.10-114131, Cal. Rules of Court, rules 3.810-3.830. and Local Rules, rule 3.252 at
            seq.)
         Mediation (Code Clv. Proc. §§ 1775-1775.15, Cal. Rules of Court, rules 3.850-3.860, 3.865-3.872 and 3.890-3.896, Evid. Code §
           1115-1128, and Local Rules, rule 3.252 et seq.)
                  Civil Harassment Mediation
                  Eminent Domain Mediation (Code Civ. Proc. §1250,420)
                  Small Claims Mediation
         Neutral Evaluation (Local Rules, rule 3.252 et seq.)
         Settlement Conference
                 o Voluntary Settlement Conference (Local Rules, rule 3.252 et seq.)
                 a Retired Judge Settlement Conference

         Arbitration (non-binding) (Fern. Code § 2554 and Local Rules, rule 5.18)
         Mediation (Local Rules, rule 5.18)
       jO Settlement Conference
                  Forensic Certified Public Accountant (CPA)
                  Spanish Speaking Settlement Conference
      PROBATE:
         Mediation
         Settlement Conference
                                                              NEUTRAL SELECTION

      Parties may select an arbitrator, mediator, or evaluator from the Party Select Panel or may hire someone privately, at their discretion. If
      the parties utilize the Random Select Panel, the ADR staff will assign on a random basis the name of one neutral who meets the case
      criteria entered on the court’s website.

                                                                                        COURT ADR PANELS
it.

       Party Select The Party Select Panel consists of arbitrators, mediators, and evaluators who have achieved a specified level of
          Panel        experience in court-annexed cases. The parties (collectively) are charged $150.00 per hour for the first three hours of
                       hearing time. Thereafter, parties may stipulate in writing for additional hearing time at the rate established by the
                       neutral.                                                                              -
      Random Select The Random Select Panel consists of trained arbitrators, mediators, evaluators, and settlement officers who make
          Panel       themselves available pro bone as.a way of supporting the judicial system. It is the policy of the Court that Random
                      Select Panel neutrals provide three hours hearing time per case on a pro bono basis. Thereafter, parties may stipulate
                      in writing for additional hearing time at the rate established by the neutral.

                                                                                          ADR ASSISTANCE

 For assistance regarding ADR, please contact the ADR clerk at the courthouse in which your case was filed.
            idtJsE    DESW                   M1                          iPN
        Anlonovich              20ll 41h St, West   ’            lot FL       Lancaster, CA 93534        -   ’861974.7275 --    661-945.8173     AnielopeADRIaoupeijorcourLorg
        Ctralkworlij          9425 Penfield Aye.            -             ;   ChatswOrth, CA 91311       -   ’818576-8565       8t8.578.8733     ChtswADR'Isuperiorcdi,org
        CoiTiplon’      -     200 W.Compton BId.                              Compton. GA 00220              310603-3072        310-223-0337     ComponADRlscuper;orc&irLorg        -

       -Glendale-            .800 C. Broadway                   273           Glendale, CA 91206         -   818-500-3160       810-548-5470     ClendateADR'asuperiorcourl.org
        Long Beach            415W, Ocean 61v0          -
                                                                ii""";’       Long Bech,cA 90802         -   562-491-6272   -   562-437-3802     LongBeathA0RIasuperiorcourloi-g
        Noiwalk               12720 NorWalk Blvd.           -   308           Norwalk, CA 90650              562-807.7243       562-462-9019     Nll.ORllasupeniorcoitorg
        Pasadena              300 C Walnut Si,                  T’"           Pasadena CA 91101              626 356 568        626-6661774      PaS8dSnBADR@lasupenorcourt o?
        Pomona     --   --    400 Civic Center Plaza                          Pomona CA 91760                909.620-3163       909629-6283 --   PomonaADR'IasuperionthLorg         -

        San Pedro             505 S Centre SL           -        F            San Pedro CA 90731             310 519 61i’       310 514 0314     SanPednoADR@loupeno , court org
        Santa Monica          1725 Main St.,                    ’T              nIa Moni CA 90401            310 260 1029       310-319-6130     SantaMonIcaADR@lasuperlorcourtorg
        SlankoyMosic          111 N Hilt SL                      111          LosAngetes CA 90012            213-974-5425       213-633-5115     CenlralADR(lasuperiorcourtorg
        Torrance              825Maple Ave       ’--            ’i DO -       Torrance CA 90503              310-222-1701       310-782-7326     [orranceAOR@Iaoupertorcoui’t org
       Lan Nuys                                                 ’--           varilluyd CA 91401     -       818-374-2337       116.902-2440     Van NuysADN@leauperiorcourl,org        -   -




      LMDR 005 (Rev. 01.12)                                                                                                                                        Rules at Court, rule 3,221
      LASC Adopted 10.03                         ALTERNATIVE DISPUTE RESOLUTION (AD R) INFORMATION
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      For Masda, Use
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                         SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                           DISPUTE RESOLUTION PROGRAM-ACT .(DRPA) PROVIDERS                          ..
 JOHN ACLARKE; E)CUTIVE OFflOERc1ERR----        -                          -ALTERNATNEOtSPLJTE RESOWTION IAOR) DEPARTMENT


 California Rules of Court, rule 3.221, requires counties participating in the Dispute Resolution
 Programs Act (DRPA) to provide information about the availability of local dispute resolution
 programs funded under ORPA. For more information regarding these programs, contact the Los
 Angeles County Department of Community and Senior Services Contracts Administration Office at
 213-738-2621. The following is a list of the local dispute resolution programs funded in Los Angeles
 County.

                 Superior Court of California, County of Los Angeles, ADR Office 213-974-5425
                                           www lasuperiorcourt orgfADR

  STAFF AND VOLUNTEERS OF THE FOLLOWING AGENCIES ARE NOT EMPLOYEES OF THE
                              SUPERIOR COURT:    --

               Asian-Pacific American Dispute Resolution Center 213-250-8190 www.apadrc.org                   .

           California Academy of Mediation Professionals 81

                California Lawyers for the Arts, Arbitration, and Mediation Service 310-998-5590


          Center for Civic Mediation 877-473-7658 213-896-6533 .www..

                            Center for Conflict Resolution 818-705-1090

                       Centinela Youth Services, City of Hawthorne 31 0-970-7702..,W.:.I,rq.

                               Inland Valleys Justice Center 877-832-9325-ww.ivicorq

          Korean American Coalition 4.29 Dispute Resolution Center 21 3-365-5999:ww.kaclaort

   Los Angeles County Department of Consumer Affairs, Dispute Settlement Services 213-974-0825
                                     www.dca.lacountviqv

             Loyola Law School, The Center for.Conflict Resolution 213-736-1145 www.11s.edu/ccr

      Norwalk Dispute Resolution Program

              Office of the Los Angeles City Attorney, Dispute Resolution Program 213-485-8324
                                           www.attyjacity.org/mediate


     -.    THE PROGRAMS LISTED ABOVE DO NOT OFFER LEGAL ADVICE OR HELP YOU
           RESPOND TO A SUMMONS; HOWEVER, THEY MAY ASSIST IN RESOLVING YOUR
                             PROBLEM THROUGH MEDIATION.




  ?AADR 007 (Rev. 0-               DISPUTE RESOLUTION PROGRAM ACT (DRPA) PROVIDERS               Cal. Rules of Court. rule 3221
  LASC Auopted 07-04                                                                                                PS9E 1 Of 1
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NAME, ADDRESS, TELEPHONE, FAX, and E- MAIL:




SUPERIOR COURT OF cALIFORNIA, COINTY OF LOS ANGELES
COURTHOUSE ADDRESS:
  C1ck on the button to select the appropriate court address.
                                                     T
PLAT1FFPEI-ITIONE*.


DEFENDA NTIRESPOND ENT:                            -                   -.                                         -


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                               -
                                        STIPULATION TO PAR6CIPATE1N
                                    ALTERNATIV DISPUTE RESOLUTION (ADa)
                                                                                                        - -


                                                                                                              -           ..
                                                                                                                                      T
 The undersigned parties in the above-titled action stipulate to participate in the Alternative Dispute Resolution (ADR) process checked
                                                                                                                                          ~!
                                                                                                                                               SE NUMBER:
                                                                                                                                                                            V   V



 below;

      U      Mediation                                                            U   Neutral Evaluation

      0      Arbitration (non-binding)                                                Settlement Conference

      O      Arbitration (binding)                                                D   Other ADR Process (describe): .                      -




 DaLed                 Name of Stipulating Party                                  N a me of Party or Attorney Executing Stipulation        Signature of Party or Attorney
                      9 Plaintiff                  0 Cross-complainant
                      0 Defendant                  0 Cross-defendant

                      ’Nam-e
 Dated                         of Stipulating Party                         - -   Name of Party or Attorney Executing Slipulatiori         Signature of Party orAttomey
                      o Plaintiff             0 Cross-complainant
                      o Defendant             0 Cross defendant
                                                              -




             V                                           V
 Dated’ __             Name ofStrpuratihg Party                                   Name of Party or Atto r ney ExecUting Stipulation        Signature of Paity orAttorfley
                       0 Plaintiff         C] Cross-complainant
                       9 Defendant         0 Cross-defendant

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 Dated            ’    Name of StipulatingParty              -                    Name of Party or Attorney Executing Stipulation         Signature of Party or Attorney
                       ElPlaintiff        9 Cross-complainant
                       C3Defendant        [I Cross-defendant

                                                       V
 Dated           --    NarneotStipulangParty             V                        Name of Party or Attorney ExecUting Stipulation              Sina!ire of Party brAttorney
                       o Plaintiff      0 Cross-complainant
                       E]Defendant      0 Cross-defendant


 DaTed                 Name of S t ipulating Party -                              Name of Party or Attorney Executing Stipulation              Signature of Party or Attorney
                       o Plaintiff                 0 Cross-complainant
                       o Defendant                 0 Cross-defendant


 Dated                 ’Name of Stipulating Party                                 Nne of Pirty or Att&ney E>Øcuting Stipulation                SignafUre of Party dr Attorney
                       o Plaintiff                     0 Cross-complainant
                       o Defendant                     0 Cross-defendant

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 DLºif                 Name        of
                                Stipulatiii Paity
                                                                  --
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                       o Plaintiff          0 Cross-complainant
                       C] Defendant                    0 Cross-defendant

  El Number of additional               pages   attached to this document:    -



 LMDROOi (Ilev.04-12)                                                                                                                                     Cal: Rules otCourt, rule 3.221
                                                                   STIPULATION TO PARTICIPATE IN                                                                             Page 1 oIl
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 For Optional Use                                              ALTERNATIVE DISPUTE RESOLUTION (ADR)

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                               OLUNTARY EFFICIENT lITIGATION STIPULATIONS


                                 The Early Organizational Meeting Sipuiation 1 Discovery
                               Resolution Stipulation, and Motions In Limine Stipulation are
    sups" DUttDI               voluntary stipulations entered into by the parties.. Th e parties
    County tAq Angolss
          !



                               may enter into one, two, or all three of the stipulations,
                               however, they my not alter the atiputations as Written,
                               because the Court wØnts to ensure uniformity of application.
    .is AJ%U*$Ceirnty
       atAso                   These stipulations are meant to encourage operatlon
        tIg1ionB.ction

     Los MIpi County           between the parties and to assist In .resolvipg issues in a
     Empiaym.ntS.aws.ciian     manner thai promotes economic case resolution dnd judicial
                  S

                               efficiency.
        on
        ml                        The following o’gan1zaUons Øndoro the goal of
     Cotaun.rAttorn.ys
     AUncI.tloi of Lou Andes
                               promoting efficiency in litigation and ask that counsel
                               consider using these stipulatto a as a voluntary way to
                               prom to communications and procedures among counsel
                               and with the cuit to fairly resolve issues IA their cases.

                                 Los Angeles County Bar Association Ut1atIon Section

                                           Los Angeles County Bar AssociBtign
                                           Labor and Employment Law Sectton4
      AtIon of
      Ruskan Trial Lswy.m
                                     consumerAttc)rneys Association of Los Angeles

                                          Southom California Defense Counsei+

                                          4Assoclatlon of Business Trial Lawyers*
        aWl mis
       LAWAMJ
                                      Callfomla Employment Lawyers Association*




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  E-MPJLADOREBS (Opi*                           .
   -A1oEYronDioini                 ..
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
  CWR1HO




       HT:     .                                ..            .


           STIPULATION EARLY ORGANIZATIONAL MEETING

       Thie ettiiIatlon Is intended to encourage cooperation among the parties at an early stage In
       the litigation and to isslst the parties In efficient case resolution.
       The parties are that                          .
        1. The patlee commt to conduct an Initial conlerØnde (In-person or via teleconference or via
            ydorference) within 15 days fro   m the date this Stipulation Is signed 1 to discuss and consider
            ijhefher tbere can be agteernent on the   oI%*g

        - a. Are motions to challenge the leadinpa necessary? If the Issue can be resolved by
               amendment as of right. di If the ourt would allow leave to anend, could an amended
               complaint resolve most or all of thelssues a demurrer might otherwise raise? ! so, the patios
               agreethkthrouhpleadingIap that r need only r5lS they cannot
               rescvł. Is theIssue that the defendant seeks to rise amenable to resolution on demurrer, or
               would some other type of mot1n, be preferable? Could a voluntary tagetad exchange of
                doiments or Information by any party core an uncertainty Ingo ploadinps?
             b. Initial mutual exchanges of documents M the "coro of the litigation. (For example in an
                  rnpioyment case, the ompIoymet records, persoflnei file arm documents relating to the
                 corduct in question could be considered core. In a personal Injury case, an Incident or
                 police report, medical records, and repair or maintenance records could be considered

              c. Exchange oframes and nactIrdonnaUanofwftnosses;
              d. My Insurance agreement that may be avaUaIe to satify part or all of a judgment or to
                 Indemnify or reimburse for payments made to iskso a Judgment;
              a. Exchange of any other information that might be helpful to fadlllate understanding, handling,
                  or resolution a! the case In ’s manner that presenios objections or privileges by agreement;
              1. Controlling Issues of law that, if resolved early, wit promote efficiency ærid economy in other
                  phases of the case. Neo, when and how such Issues can be prasented to the Court;
               S Whether or when the case Bhould be scheduled with a sotheient officer, what discovery or
                  court ng on gaI Issues Is reasonably required to make        ernent discussions æeenlng1ul,
                  and whether the OMas Wish to use a sitting )uciga or a private m diator or Æthor optionsas
                    VOO         STIPULATION EARLY ORGANIZATIONAL MEETING                                 Pa’. 1012




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                   llscussed In the uMernative Dispute Resoiutlon (ADR) Information Package" served with the
                    op!a                                        ..     .
            h. Qomputtlon of damages, Including documents not privileged or protected from disclosure, on
                          p9mputallin Is based -,            .’
                   Whether the case Is suitable for the Expedited Jury Trial procedures (ace lnYrmatIon at
                                orco if. uMer’ Civir and then under Generel Inforniatbn’).               .
      2.           The time for a, defending party to respond to a complaint or cross-complaint will be extended
                   to                          for the cornpIaIn
                                                            ..
                                                                    a nd         .          .       for the cross-
                            (p4&ERTpAIE)        .       .                    ..   UI5ERT0ATE)
                   complaint1 which is comprised of the 30 days to respond under Government Code 88616(b),
                     id the days per mlttd by Code ol Civ Procedure nection 1054(a), good cause having
                   been found by the MI Supervising Judge due to the case management benefits provided by
                   this Stipulation. . ’. . .

      3.         The parties will prepare a Joint report titied OJoint Status Report Pursuant to Initial Con!erence
                 and Ea Organ1ztlonal Meeting Stipulation, and If desired, a proposed order summarizing
                 results of their meet and confer and advising the Court of any Nay It may assist the parties’
              elticient conduct or resolution of the case The patties shall attach the Joint Status Report to
                 the case Management Conference statement 1 and tIle the documents when the ChIC
                     teinantlsdue.
       4.           References to days" mean calendar days, unless otherwise noted, tithe data for prformIg
                     ny actpursuant to this stipulation falls on a Saturday, Sunday or court holiday, then the time
                    !or      mIngtht act shall beedandedththe next Court day
       The f0Lls1ng parties stipulate:                  .
       Date:

                       (TYPE ORPR1NT NAME)                      .                   .(ATTORNEY FOR PLAINTIFF)
       Date:              .               .                         .             ...

                       (TYPE OR PRINT NAME)                                        (ATTORNEY FOR DEFENDANT)
           Date-                                                                      .
                                                                                                                         U


                       (TYPE OR PRINT NAME)                                        (ATrORNEY FOR DEFENDANT)          -

           Date:

                       (TYPE OR PRINT NAME)                                        (ATTORNEY FOR DEFENDANT)
           Dale:

                       (TyppoR PRINT NAME) .                                 (ATTORNEY FOR.           .,        .


        Die:
       -.
                        (TYPE OR PRINT NAME)                            .   - (ATrORNEY FOR

                        (TYPE OR PRINT NAME )               .                (ATIORNEYFOR .
           LAW 220 01W4
                      4L11          STIPULATION - EARLY ORGANIZATIONAL MEETING
Case 2:16-cv-00631-FMO-AJW Document 4-1 Filed 01/28/16 Page 38 of 38 Page ID #:66




      This stipulation Is Intended to provide a fast and infonnal resolution of discovery Issues
      through limited paperwork and an Itforma% conference with the Court to aid In the
      rM!on of the Issues.

      The parties agree that

       1. PrIor to the discovery cut-off in this action, no discovery motion itiall be filed or hoard unless
          the moving party first makes a wiitten request for an Informal Discovery Confor nce puruant
          to the terms of this Stiiiuiatlon.

       2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
          and detemlre.wheliler it can be resolved Informally. Nothing cot forth hreIn wili.precludo a
          party from making a record at the conclusion of an Infor at Discovery Conference, either
          oafly or In wilting.

       3. FollowIng a reasnebl9 and good faith attempt at an infornial r.aolulln of each Issue to. pe
         presented, a party may request an Informal Qiscovery Conference pursuant to the following
          procedures:

                a. The party requesting the Informal Discovery Conference will:

                  I.     Pie a flequest for kiformal Discovery Conference with the clerk’s office on the
            I            approved form (copy tachid) and deilvr a                           copy to the
                         8ned depadmeiit

                  IL Includer a brief summary of the dispute and specify the relief requested; and

                  W. Servo the pposIng party pursuant to any authorized or agreed method of service
                      that ensure that the ppposlngparty eceivoa the Request for informal Discovery
                      onferene no later than the next court day foIIIng the filing.

                b. Any Answer to a Request for     mt rmel Discovery Conference must
                   L Also be fled on the approved form (copy attached);

                   II.   Include a brief summary of why the requested relief should be denied;

                                   8TIPULATION         DISCOVERY RESOLUTION                            .V-




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